 Case 20-19885-ABA                           Doc 19 Filed 09/10/20 Entered 09/11/20 00:23:11                                                       Desc Imaged
                                                  Certificate of Notice Page 1 of 3
Information to identify the case:

                       Tina Marie Doughty                                                       Social Security number or ITIN:      xxx−xx−8120
Debtor 1:
                                                                                                EIN: _ _−_ _ _ _ _ _ _
                       First Name    Middle Name     Last Name

Debtor 2:              Walter Troy Doughty                                                      Social Security number or ITIN:      xxx−xx−2504
(Spouse, if filing)                                                                             EIN: _ _−_ _ _ _ _ _ _
                       First Name    Middle Name     Last Name

United States Bankruptcy Court:     District of New Jersey                                          Date case filed for chapter:            13     8/25/20

Case number:          20−19885−ABA

Official Form 309I
Notice of Chapter 13 Bankruptcy Case                                                                                                                             12/17


For the debtors listed above, a case has been filed under chapter 13 of the Bankruptcy Code. An order for relief has
been entered.
This notice has important information about the case for creditors, debtors, and trustees, including information about
the meeting of creditors and deadlines. Read both pages carefully.
The filing of the case imposed an automatic stay against most collection activities. This means that creditors generally may not take action to collect debts
from the debtors, the debtors' property, and certain codebtors. For example, while the stay is in effect, creditors cannot sue, garnish wages, assert a
deficiency, repossess property, or otherwise try to collect from the debtors. Creditors cannot demand repayment from debtors by mail, phone, or
otherwise. Creditors who violate the stay can be required to pay actual and punitive damages and attorney's fees. Under certain circumstances, the stay
may be limited to 30 days or not exist at all, although debtors can ask the court to extend or impose a stay.
Confirmation of a chapter 13 plan may result in a discharge. Creditors who assert that the debtors are not entitled to a discharge under 11 U.S.C. §
1328(f) must file a motion objecting to discharge in the bankruptcy clerk's office within the deadline specified in this notice. Creditors who want to have
their debt excepted from discharge may be required to file a complaint in the bankruptcy clerk's office by the same deadline. (See line 13 below for more
information.)
To protect your rights, consult an attorney. All documents filed in the case may be inspected at the bankruptcy clerk's office at the address listed below or
through PACER (Public Access to Court Electronic Records at www.pacer.gov).

The staff of the bankruptcy clerk's office cannot give legal advice.

To help creditors correctly identify debtors, debtors submit full Social Security or Individual Taxpayer Identification
Numbers, which may appear on a version of this notice. However, the full numbers must not appear on any document
filed with the court.
Do not file this notice with any proof of claim or other filing in the case. Do not include more than the last four digits of
a Social Security or Individual Taxpayer Identification Number in any document, including attachments, that you file
with the court.
Undeliverable notices will be sent by return mail to the debtor. It is the debtor's responsibility to obtain the party's
correct address, resend the returned notice, and notify this office of the party's change of address. Failure to provide
all parties with a copy of this notice may adversely affect the debtor as provided by the Bankruptcy Code.

                                                   About Debtor 1:                                                         About Debtor 2:
1. Debtor's full name                              Tina Marie Doughty                                                      Walter Troy Doughty

2. All other names used in the
   last 8 years
                                                   427 Davis Ave.                                                          427 Davis Ave.
3. Address                                         Northfield, NJ 08225                                                    Northfield, NJ 08225
                                                   Tina Marie Doughty                                                      Contact phone _____________
4. Debtor's  attorney
   Name and address
                                                   427 Davis Ave.
                                                   Northfield, NJ 08225                                                    Email: None

5. Bankruptcy trustee                              Isabel C. Balboa                                                        Contact phone (856) 663−5002
     Name and address                              Chapter 13 Standing Trustee                                             www.standingtrustee.com
                                                   Cherry Tree Corporate Center
                                                   535 Route 38 − Suite 580
                                                   Cherry Hill, NJ 08002

6. Bankruptcy clerk's office                                                                                               Hours open: 8:30 AM − 4:00 p.m., Monday −
     Documents in this case may be filed           401 Market Street                                                       Friday (except holidays)
     at this address.                              Camden, NJ 08102                                                        Contact phone 856−361−2300
     You may inspect all records filed in          Additional information may be available at the Court's Web              Date: 9/8/20
     this case at this office or online at         Site:
      www.pacer.gov.                               www.njb.uscourts.gov.
     (800) 676−6856


                                                                                                                                   For more information, see page 2

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                                                       Certificate of Notice Page 2 of 3
Debtor Tina Marie Doughty and Walter Troy Doughty                                                                                         Case number 20−19885−ABA

7. Meeting of creditors
    Debtors must attend the meeting               October 9, 2020 at 09:00 AM                                        Location:
    to be questioned under oath. In a                                                                                THE LOCATION, DATE AND TIME OF THE
    joint case, both spouses must                                                                                    MEETING OF CREDITORS IS SUBJECT TO
    attend.                                       The meeting may be continued or adjourned to a later               CHANGE. DEBTORS, PLEASE CONSULT WITH
    Creditors may attend, but are not             date. If so, the date will be on the court docket.                 YOUR COUNSEL. SELF REPRESENTED
    required to do so.                                                                                               DEBTORS AND ALL PARTIES IN INTEREST,
    All individual debtors must provide picture                                                                      PLEASE REFER TO THE TRUSTEE WEBSITE
    identification and proof of social security                                                                      AT www.standingtrustee.com
    number to the trustee at the meeting of
    creditors. Failure to do so may result in
    your case being dismissed.

8. Deadlines                                       Deadline to file a complaint to challenge                                Filing deadline: 12/8/20
   The bankruptcy clerk's office must              dischargeability of certain debts:
   receive these documents and any
   required filing fee by the following
   deadlines.                                      You must file:
                                                   • a motion if you assert that the debtors are
                                                      not entitled to receive a discharge under
                                                      U.S.C. § 1328(f) or
                                                   • a complaint if you want to have a particular
                                                      debt excepted from discharge under
                                                      11 U.S.C. § 523(a)(2) or (4).


                                                   Deadline for all creditors to file a proof of claim                      Filing deadline: 11/4/20
                                                   (except governmental units):
                                                                                                                            Filing deadline: 180 days from date of
                                                   Deadline for governmental units to file a proof of                       order for relief.
                                                   claim:                                                                   11 U.S.C. § 502(b)(9)
                                                   Deadlines for filing proof of claim:
                                                    A proof of claim is a signed statement describing a creditor's claim. A proof of claim form ("Official Form 410")
                                                   may be obtained at www.uscourts.gov or any bankruptcy clerk's office. You may also contact the Clerk's Office
                                                   where this case is pending to request that a Proof of Claim form be mailed to you. The Clerk's Office telephone
                                                   number is included on the front of this Notice. Also, Claims can be filed electronically through the court's
                                                   website at: http://www.njb.uscourts.gov under File An Electronic Claim.
                                                   If you do not file a proof of claim by the deadline, you might not be paid on your claim. To be paid, you must file
                                                   a proof of claim even if your claim is listed in the schedules that the debtor filed.
                                                   Secured creditors retain rights in their collateral regardless of whether they file a proof of claim. Filing a proof of
                                                   claim submits the creditor to the jurisdiction of the bankruptcy court, with consequences a lawyer can explain.
                                                   For example, a secured creditor who files a proof of claim may surrender important nonmonetary rights,
                                                   including the right to a jury trial.


                                                   Deadline to object to exemptions:                                         Filing deadline:    30 days after the
                                                   The law permits debtors to keep certain property as exempt. If you                            conclusion of the
                                                   believe that the law does not authorize an exemption claimed, you                             meeting of creditors
                                                   may file an objection.

9. Filing of plan                                 The debtor has not filed a plan as of this date. A copy of the plan and a notice of the hearing on confirmation will
                                                  be sent to you separately.
10. Creditors with a foreign                       If you are a creditor receiving a notice mailed to a foreign address, you may file a motion asking the court to
    address                                        extend the deadline in this notice. Consult an attorney familiar with United States bankruptcy law if you have
                                                   any questions about your rights in this case.
11. Filing a chapter 13                            Chapter 13 allows an individual with regular income and debts below a specified amount to adjust debts
    bankruptcy case                                according to a plan. A plan is not effective unless the court confirms it. You may object to confirmation of the
                                                   plan and appear at the confirmation hearing. A copy of the plan, if not enclosed, will be sent to you later, and if
                                                   the confirmation hearing is not indicated on this notice, you will be sent notice of the confirmation hearing. The
                                                   debtor will remain in possession of the property and may continue to operate the business, if any, unless the
                                                   court orders otherwise.
12. Exempt property                                The law allows debtors to keep certain property as exempt. Fully exempt property will not be sold and
                                                   distributed to creditors, even if the case is converted to chapter 7. Debtors must file a list of property claimed as
                                                   exempt. You may inspect that list at the bankruptcy clerk's office or online at www.pacer.gov. If you believe that
                                                   the law does not authorize an exemption that debtors claimed, you may file an objection by the deadline.
13. Discharge of debts                             Confirmation of a chapter 13 plan may result in a discharge of debts, which may include all or part of a debt.
                                                   However, unless the court orders otherwise, the debts will not be discharged until all payments under the plan
                                                   are made. A discharge means that creditors may never try to collect the debt from the debtors personally except
                                                   as provided in the plan. If you want to have a particular debt excepted from discharge under 11 U.S.C. §
                                                   523(a)(2) or (4), you must file a complaint and pay the filing fee in the bankruptcy clerk's office by the deadline.
                                                   If you believe that the debtors are not entitled to a discharge of any of their debts under 11 U.S.C. § 1328(f), you
                                                   must file a motion by the deadline.

                                                   WRITING A LETTER TO THE COURT OR THE JUDGE IS NOT A SUBSTITUTE FOR FILING AN
                                                   ADVERSARY COMPLAINT OBJECTING TO DISCHARGE OR DISCHARGEABILITY. IN NO
                                                   CIRCUMSTANCE WILL WRITING A LETTER PROTECT YOUR RIGHTS.




Official Form 309I                                            Notice of Chapter 13 Bankruptcy Case                                                     page 2
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                                               United States Bankruptcy Court
                                                  District of New Jersey
In re:                                                                                                     Case No. 20-19885-ABA
Tina Marie Doughty                                                                                         Chapter 13
Walter Troy Doughty
         Debtors
                                                 CERTIFICATE OF NOTICE
District/off: 0312-1                  User: admin                        Page 1 of 1                          Date Rcvd: Sep 08, 2020
                                      Form ID: 309I                      Total Noticed: 5

Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Sep 10, 2020.
db/jdb         +Tina Marie Doughty,   Walter Troy Doughty,   427 Davis Ave.,   Northfield, NJ 08225-1909
518937867      +Orion,   c/o of PRA Receivables Management, LLC,   PO Box 41021,   Norfolk, VA 23541-1021

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
tr             +E-mail/Text: pmarraffa@standingtrustee.com Sep 08 2020 23:38:31     Isabel C. Balboa,
                 Chapter 13 Standing Trustee,   Cherry Tree Corporate Center,   535 Route 38 - Suite 580,
                 Cherry Hill, NJ 08002-2977
smg             E-mail/Text: usanj.njbankr@usdoj.gov Sep 08 2020 23:39:03     U.S. Attorney,    970 Broad St.,
                 Room 502,   Rodino Federal Bldg.,    Newark, NJ 07102-2534
smg            +E-mail/Text: ustpregion03.ne.ecf@usdoj.gov Sep 08 2020 23:39:02     United States Trustee,
                 Office of the United States Trustee,    1085 Raymond Blvd.,  One Newark Center,    Suite 2100,
                 Newark, NJ 07102-5235
                                                                                             TOTAL: 3

             ***** BYPASSED RECIPIENTS *****
NONE.                                                                                                               TOTAL: 0

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Transmission times for electronic delivery are Eastern Time zone.


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.
Date: Sep 10, 2020                                            Signature: /s/Joseph Speetjens

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                                      CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on September 8, 2020 at the address(es) listed below:
              Isabel C. Balboa   ecfmail@standingtrustee.com, summarymail@standingtrustee.com
              U.S. Trustee   USTPRegion03.NE.ECF@usdoj.gov
                                                                                            TOTAL: 2
